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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


GLOBAL HEALTH COUNCIL et al.,

                        Plaintiffs,

         v.                                                      Civil Action No. 25-cv-402

DONALD J. TRUMP et al.,

                        Defendants.


                                RESPONSE TO COURT ORDER

         Plaintiffs hereby respond to the Court’s order to provide evidence that Defendants have

accelerated their efforts to terminate contracts, potentially in response to lawsuits challenging

Executive Order 14,169. While Plaintiffs do not have direct evidence as to Defendants’ motives,

the timing of termination notices that Plaintiffs have received and leaked information from USAID

support Plaintiffs’ notice (ECF No. 16).

         Before this lawsuit was filed, there had been significant public discussion about potential

lawsuits challenging the Executive Order and foreign-assistance funding freeze. See, e.g., Taylor

Giorno, Lawmakers, Legal Experts Warn Shuttering USAID Is Unconstitutional, The Hill (Feb. 3,

2025),        https://thehill.com/policy/international/foreign-aid/5123972-lawmakers-legal-experts-

warn-shuttering-usaid-is-unconstitutional/. On February 5, a reporter reached out to undersigned

counsel for comment about what eventually became this lawsuit. Thereafter, two other lawsuits

were filed—American Foreign Service Association v. Trump, No. 25-cv-352, on Thursday,

February 6, and AIDS Vaccine Advocacy Coalition v. U.S. Dep’t of State, No. 25-cv-400, on

Monday, February 10. This lawsuit was filed in the early morning of Tuesday, February 11.

         On or about Sunday, February 9, USAID Chief Acquisition Officer and Senior



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Procurement Executive Jami Rodgers sent an email to USAID staff, which included a link to a list

of awards identified for termination. Ex. 1. Mr. Rodgers requested “your support in taking action

on these activities by issuing notices to our partners.” Id. The email stated: “For your convenience,

M/OAA Policy has drafted several templates to assist with this process.” Id. The email did not

include a timeframe for completion of these terminations, nor did it state that the terminations

should be processed with urgency.

       On or about Tuesday, February 11, Mr. Rodgers sent a follow-up message telling

Contracting and Agreement Officers executing the terminations that “Agency leadership has asked

that we move quickly to terminate the awards.” Ex. 2. The message included two tranches of

awards slated for termination no later than February 11, and another tranche slated for termination

no later than February 12. See id. The notice also answered questions the agency had received,

apparently in response to internal apprehension about the terminations. One question was whether

the general counsel could provide “a formal written opinion confirming the Contracting &

Agreement Officers are acting within their warrant authority in executing these terminations” and

clarification that “COs/AOs will not be held personally liable if the Agency is later found to have

acted arbitrarily or violated federal statutes, such as the Impoundment Act.” Id. Rodgers responded

by stating that contracting and agreement officers would be acting within their authority and could

not be held personally liable. Id. Other questions asked “[u]nder whose authority . . . the Office of

Acquisition and Assistance [is] terminating these awards” and “[w]hat should be used as the basis”

for the terminations. Id. Mr. Rodgers responded that the State Department had prepared a

memorandum for each tranche that provided blanket authorization for every termination within

that tranche. Rodgers further stated that, “given the timeline for complaint termination

notifications . . . the termination notices do not need to contain termination process details.” Id. As

authority for the terminations, Mr. Rodgers stated that “Secretary Rubio . . . has instructed USAID


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to terminate these awards as part of the President’s Executive Order on Reevaluating and

Realigning United States Foreign Aid.” Id.

       Consistent with this direction from Mr. Rodgers, Plaintiffs have received an accelerating

number of termination notices beginning this week. For example, as of the time of this filing:

           •   Plaintiff DAI Global received no termination notices prior to February 10. DAI
               Global received one termination notice on February 10 (after AIDS Vaccine
               Advocacy Coalition was filed), five termination notices on February 11 (including
               four after this lawsuit was filed), and twelve termination notices on February 12
               (including two since the TRO hearing concluded).

           •   Plaintiff Chemonics International received no terminations prior to February 11.
               Chemonics received three terminations on February 11 (all after this lawsuit was
               filed), and eight terminations on February 12 (including one since the TRO hearing
               concluded).

           •   Plaintiff Democracy International received no terminations prior to February 10.
               Democracy International received three terminations on February 10, six on
               February 11 (including four after this lawsuit was filed), and three on February 12.

           •   Plaintiff Management Sciences for Health (MSH) received no terminations prior to
               February 11. MSH received one termination on February 11.

       Only Defendants have information that may provide direct evidence of the motives, timing,

and volume of terminations, but the terminations appear to be continuing.




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Dated: February 12, 2025            Respectfully submitted,

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